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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                          No. 17-139V
                                      Filed: May 13, 2019
                                      Not to be Published

*************************************
LAWRENCE CELIC, as personal                *
representative of the estate of JUDITH     *
CELIC, deceased                            *
                                           *                      Damages decision based on
               Petitioner,                 *                      stipulation; influenza (“flu”)
 v.                                        *                      vaccine; Chronic Inflammatory
                                           *                      Demyelinating Polyneuropathy
SECRETARY OF HEALTH                        *                      (“CIDP”)
AND HUMAN SERVICES,                        *
                                           *
               Respondent.                 *
                                           *
*************************************
Ronald C. Homer, Boston, MA, for petitioner.
Traci R. Patton, Washington, DC, for respondent.

MILLMAN, Special Master

                              DECISION AWARDING DAMAGES1

        On May 10, 2019, the parties filed the attached stipulation in which they agreed to settle
this case and described the settlement terms. Petitioner alleges that Judith Celic suffered from
Chronic Inflammatory Demyelinating Polyneuropathy (“CIDP”) that was caused by her receipt
of influenza (“flu”) vaccine on October 16, 2014. Petitioner further alleges that Ms. Celic
experienced the residual effects of this injury that led to her death on May 26, 2018.

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’ website, in accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012)
(Federal Management and Promotion of Electronic Government Services). This means the decision
will be available to anyone with access to the Internet. Vaccine Rule 18(b) states that all decisions of
the special masters will be made available to the public unless they contain trade secrets or commercial or
financial information that is privileged and confidential, or medical or similar information whose
disclosure would constitute a clearly unwarranted invasion of privacy. When such a decision is filed,
petitioner has 14 days to identify and move to delete such information prior to the document’s disclosure.
If the special master, upon review, agrees that the identified material fits within the banned categories
listed above, the special master shall delete such material from public access.
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Respondent denies that the flu vaccine caused petitioner to suffer CIDP or any other injury and
further denies that the flu vaccine caused Ms. Celic’s death. Nonetheless, the parties agreed to
resolve this matter informally.

         The undersigned finds the terms of the stipulation to be reasonable. The court hereby
adopts the parties’ said stipulation, attached hereto, and awards compensation in the amount and
on the terms set forth therein. Pursuant to the stipulation, the court awards a lump sum of
$255,000.00, representing compensation for all damages that would be available under 42 U.S.C.
§ 300aa-15(a) (2012). The award shall be in the form of a check for $255,000.00 made payable
to petitioner.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment herewith.2

IT IS SO ORDERED.

Dated: May 13, 2019                                      /s/ Laura D. Millman
                                                            Laura D. Millman
                                                             Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
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